                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT GREENEVILLE

 UNITED STATES OF AMERICA,                             )
           Respondent,                                 )
                                                       )
 v.                                                    )       No. 2:03 -CR-73(4)
                                                       )
                                                       )
 LEKO JONES,                                           )
            Petitioner.                                )

                                 MEMORANDUM AND ORDER

        This criminal case is before the Court on the motion of defendant for a reduction of

 sentence, [Doc. 723]. Defendant requests a reduction in sentence pursuant to 18 U.S.C. §

 3582(c)(2) and USSG § 1B1.10 as amended by Amendments 782 and 788 to the United States

 Sentencing Guidelines. The United States has responded and acknowledges the defendant is

 eligible for a reduction in sentence, suggests that little or no reduction is warranted, but defers to

 the Court’s discretion whether and to what extent to reduce defendant’s sentence, [Doc. 724].

        The defendant was convicted of participating in a conspiracy to distribute and possession

 with intent to distribute 50 grams or more of cocaine base, in violation of 21 U.S.C. §§ 846,

 841(a)(1) and (b)(1)(B), and distribution of a quantity of cocaine base, in violation of 21 U.S.C.

 §§ 841(a)(1) and (b)(1)(C). He was held accountable for 226.8 grams of cocaine base, resulting in

 a base offense level of 34. The defendant’s criminal history category was VI. At the time of his

 sentencing, the defendant’s advisory guideline range was 262 months to 327 months. The

 defendant faced a mandatory minimum term of 120 months imprisonment. The defendant was

 sentenced to a term of 327 months’ imprisonment.

        The defendant’s motion to reduce his sentence pursuant to Amendment 750 was granted

 on February 8, 2012. The defendant’s base offense level was reduced from 34 to 30, resulting in


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 an amended guideline range of 168 months to 210 months. This Court reduced the defendant’s

 sentence to 210 months, a term at the very top of the guideline range.

        “Federal courts are forbidden, as a general matter, to modify a term of imprisonment once

 it has been imposed, but the rule of finality is subject to a few narrow exceptions.” Freeman v.

 United States, 131 S. Ct. 2685, 2690 (2011) (internal citation and quotation marks omitted). Title

 18 United States Code § 3582(c)(2), however, gives a district court authority to modify a term of

 imprisonment that has been imposed on a defendant “who has been sentenced to a term of

 imprisonment based on a sentencing range that has been subsequently lowered by the Sentencing

 Commission,” 18 U.S.C. § 3582(c), through a retroactively applicable amendment such as

 Amendment 782. Id.; USSG § 1B1.10. The Court may reduce the term, “after considering the

 factors set forth in § 3553(a) to the extent they are applicable, if such a reduction is consistent

 with applicable policy statements issued by the Sentencing Commission.”               18 U.S.C. §

 3582(c)(2).    Section 1B1.10 identifies the guideline amendments that may be applied

 retroactively, and sets out the factors for deciding a sentence reduction motion under § 3582(c).

 The Supreme Court has made clear that § 3582 does not require a sentencing or resentencing

 proceeding, but gives courts the power to reduce an otherwise final sentence under circumstances

 established by the Sentencing Commission. Dillon v. United States, 560 U.S. 817 (2010); United

 States v. Curry, 606 F.3d 323, 330 (6th Cir. 2010); USSG § 1B1.10, cmt. background (noting that

 a reduction under § 1B1.10 is discretionary and “does not entitle a defendant to a reduced term of

 imprisonment as a matter of right”).

        Section 3582(c)(2) establishes a two-step inquiry: First, the court must determine whether

 the defendant is eligible for a sentence reduction. If he is, the court must then consider whether,

 in its discretion, the authorized reduction is warranted in whole or in part under the circumstances.



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 Dillon, 130 S. Ct. at 2691-92; United States v. Greenwood, 521 Fed. App’x 544, 547 (6th Cir.

 2013). In exercising its discretion, the court is required to consider public safety factors and is

 permitted to consider post-sentencing conduct in deciding whether a reduction in the defendant’s

 term of imprisonment is warranted. USSG § 1B1.10, cmt. (n. 1(B)(ii)-(iii)). Thus, the district

 court is required to consider both the § 3553(a) factors and “the nature and seriousness of the

 danger to any person or the community that may be posed by a reduction in defendant’s term of

 imprisonment.” Curry, 606 F.3d at 330 (quoting USSG § 1B1.10, cmt. n. 1(B)(ii)).

         Pursuant to Amendment 782, a quantity of 226.8 grams of cocaine base yields a base

 offense level of 28. When combined with the defendant’s criminal history category of VI, the

 defendant’s amended guideline range is 140 months to 175 months of imprisonment.                    The

 defendant is still subject to a mandatory minimum term of 120 months imprisonment. The

 defendant requests a reduction in sentence to 175 months or less. The Court concludes that no

 reduction is appropriate in this case and the motion for reduction of sentence will be DENIED.

         When determining whether a reduction in sentence is appropriate, the Court may consider

 a number of factors, including the seriousness of the offense, the defendant’s criminal history, and

 his post-sentencing conduct. First, the Court may look at the seriousness of the defendant’s

 conduct in the criminal matter. Crack cocaine is a dangerous drug. The defendant was ultimately

 held accountable for 226.8 grams of crack cocaine, a large amount, which he sold and profited

 from in the Eastern District of Tennessee. Further, it was shown at trial that the defendant

 traveled interstate to obtain large supplies of crack cocaine to bring back to the district for sale.

         The defendant’s criminal history is also an important consideration. When sentenced in

 this matter, the defendant was only 21 years old and had already accumulated a criminal history

 category of VI with fourteen criminal history points. The defendant has an extensive criminal



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 history with convictions beginning at a very young age and continuing consistently until the

 sentencing in this matter. The defendant’s past offenses include many serious crimes of violence

 against others, drug possession and distribution, and sex offenses. Also important to note is that

 the defendant had multiple arrests for assaultive behavior that were dismissed. Further, the

 defendant was previously convicted of Indecent Liberties with a Child and had a pending charge

 for Failure to Register as a Sex Offender at the time of his original sentencing in this matter.

        Another important factor in the Court’s determination is the defendant’s post-sentencing

 conduct. The defendant has been sanctioned fifteen times while in the custody of the Bureau of

 Prisons.   The most recent sanctions occurred in December 2014 for fighting and indecent

 exposure. The defendant’s sanctions in the custody of Bureau of Prisons for indecent exposure in

 2014 and a prior sanction for a sexual act are all the more troubling in light of his criminal history

 of sexually related offenses. The defendant’s substantial history of disciplinary infractions while

 in the custody of the Bureau of Prisons indicates a high risk of recidivism and disregard for prison

 regulations.

        As shown above, the defendant’s extensive criminal history and his post-sentencing

 behavior show a profound disrespect for the law and Bureau of Prison regulations. Consideration

 of the 18 U.S.C. § 3553(a) factors leads inevitably to the conclusion that no reduction beyond that

 granted by the Court’s February 8, 2012 order is appropriate in the case. The motion, [Doc. 723],

 is DENIED.

        So ordered.

        ENTER:


                                                                        s/J. RONNIE GREER
                                                                   UNITED STATES DISTRICT JUDGE




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